                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:11-cr-00337-RJC-DSC

USA,                                            )
                                                )
                  Plaintiff,                    )
                                                )
       vs.                                      )
                                                )
DARRICK LEON JOHNSON,                           )
           Defendant.                           )



       THIS MATTER is before the Court upon the government’s Notice of Appeal of the

magistrate judge’s release order, (Doc. No. 158), the defendant’s response, (Doc. No. 166-1),

and the government’s reply, (Doc. No. 166). For the reasons stated below, the Court will

REVOKE the release order and detain the defendant pending trial.

       The defendant was indicted on January 15, 2013, for conspiring to distribute more than

1,000 kilograms of marijuana from 2004 to the present. (Doc. No. 144: First Superseding

Indictment). This case involves an alleged extensive network of trafficking marijuana from

California to North Carolina. The defendant was arrested based on the indictment in the Central

District of California on January 23, 2013. He was initially detained, but later ordered released

after his father posted a $150,000 property bond. (C.D. Ca. Case No. 2:13-mj-151). This appeal

followed.

       Title 18, United States Code, Section § 3145 provides that when a defendant is ordered

released by an out-of-district judge, the court having original jurisdiction over the offense may

review the release order. A district court is required to make an independent, de novo

determination when acting on a motion to revoke or amend a magistrate judge’s pretrial release




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order. United States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001)(citing United States v.

Rueben, 974 F.2d 580, 585-86 (5th Cir. 1992). However, a district court is not required to hold

an additional evidentiary hearing as part of its review. United States v. King, 849 F.2d 485, 489-

90 (11th Cir. 1988); United States v. Hare, 873 F.2d 796, 799 (5th Cir. 1989).

       The Court has carefully conducted a de novo review of the entire record in this case and

finds the magistrate judge’s decision to release the defendant was in error. Most significantly,

the defendant was on felony probation for marijuana trafficking during the time he is alleged to

have been part of the conspiracy in this case. 18 U.S.C. § 3142(g)(3)(B). According to the

government’s motion, additional evidence of drug trafficking was found with the defendant at

the time of his arrest. 18 U.S.C. § 3142(g)(2). Finally, the defendant’s criminal history stretches

back to 1994 and includes convictions for drug possession, battery, and theft, and contains a

history of violating probation and failing to appear for court. 18 U.S.C. § 3142(g)(3)(A). Thus,

the Court finds by clear and convincing evidence that no condition or combination of conditions

will reasonably assure the safety of the community if the defendant were released.

       IT IS, THEREFORE, ORDERED that the Central District of California magistrate

judge’s release order is REVERSED and the defendant is committed to the custody of the

Attorney General.

       IT IS FURTHER ORDERED that, to the extent practicable, the defendant shall be

confined in a corrections facility separate from persons awaiting or serving sentences or being

held in custody pending appeal. The defendant shall be afforded reasonable opportunity for

private consultation with counsel. On order of a court of the United States or on request of an

attorney for the government, the person in charge of the corrections facility in which the




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defendant is confined shall deliver the defendant to a United States marshal for the purpose of an

appearance with a court proceeding.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                               Signed: February 1, 2013




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